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                                    10
                                                             UNITED STATES DISTRICT COURT
                                    11                      CENTRAL DISTRICT OF CALIFORNIA
                                    12                            WESTERN DIVISION
1154 S. Crescent Heights Blvd.




                                    13
   Los Angeles, CA 90035




                                         MACKENZIE ANNE THOMA, a.k.a.               Case No. 2:23–cv–04901 WLH (AGRx)
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                                    14   KENZIE ANNE, an individual and on
                                         behalf of all others similarly situated,   MOTION TO OVERRULE RYAN
                                    15                                              MURPHY’S CLAIM OF PRIVILEGE
                                    16         Plaintiff,                           AND COMPEL PRODUCTION OF
                                         v.                                         DOCUMENTS [DISCOVERY
                                    17                                              MATTER]
                                    18   VXN GROUP LLC, a Delaware
                                         limited liability company; MIKE            Date: October 15, 2024, 10:00 AM
                                    19   MILLER, an individual,
                                    20
                                                Defendants.
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                                     1
                                          MOTION TO OVERRULE RYAN MURPHY’S CLAIM OF PRIVILEGE,
                                     2    COMPEL PRODUCTION OF DOCUMENTS [DISCOVERY MATTER]
                                     3         Pursuant to Fed. R. Civ. P. 45(d)(2)(B)(i), Rule 45(g), and the Court’s
                                     4   inherent powers, Defendants VXN Group LLC and Mike Miller (“Defendants”)
                                     5   hereby respectfully move for entry of an order (1) overruling nonparty Ryan
                                     6   Murphy’s objection that his text messages are attorney-client privileged; (2) and
                                     7   compelling Mr. Murphy to produce the withheld materials.
                                     8
                                         I.    INTRODUCTION
                                     9
                                               Ryan Murphy (a.k.a. “Ryan Kona”) is a third-party witness and Plaintiff’s
                                    10
                                         former adult film talent agent. As her agent, Murphy was the main liaison
                                    11
                                         between Plaintiff and Defendants. His communications, testimony and documents
                                    12
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                                         are crucial to the two dispositive issues in this case: (i) whether Plaintiff is
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                                         exempt as a professional actor under Wage Order 12, and (ii) whether Plaintiff
                                    14
                                         was misclassified as an independent contractor. [Order, Dkt. 66 at 8]. Despite
                                    15
                                         knowing this, Plaintiff’s counsel has obstructed Defendants from receiving
                                    16
                                         relevant documents from Mr. Murphy.
                                    17
                                               On August 22, 2024, after several IDCs, the Court allowed Defendants to
                                    18
                                         move to compel Murphy’s communications in his privilege log and ordered him
                                    19
                                         to produce any outstanding documents. [Order, Dkt. 100, at 3-4]. Initially,
                                    20
                                         Murphy denied the existence of messages but later produced a privilege log for
                                    21
                                         text messages with Plaintiff, citing attorney-client privilege. However, the
                                    22
                                         privilege does not apply to communications between non-attorneys, especially
                                    23
                                         before Murphy has legal representation. Murphy also testified that he gave
                                    24
                                         Plaintiff’s counsel an archive of his Instagram account in July, which included
                                    25
                                         deleted whistle-blowing statements about this lawsuit. To date, Plaintiff’s
                                    26
                                         counsel still has not produced the archive.
                                    27

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                                     1         In a recent deposition, Plaintiff’s former accountant testified that Plaintiff’s
                                     2   counsel tried to bully him into non-compliance with Defendants’ subpoenas by
                                     3   threat of incarceration. He also stated that Plaintiff personally asked him not to
                                     4   comply because it would hurt her case. In light of these developments,
                                     5   Defendants move to compel Murphy to produce withheld documents.
                                     6   II.   BACKGROUND
                                     7         In September 2023, Murphy was fired from Plaintiff’s former agency,
                                     8   Motley Models (“Agency”).1 About two months later, disgruntled over his
                                     9   termination, Murphy began making cryptic posts about the Agency on Instagram.
                                    10   See <Exhibit A, Supplemental Responses of Ryan Murphy (Excerpts) at 4-6>.
                                    11   His frustration peaked in January of 2024 during the AVN Awards, and he took to
                                    12   Instagram as a whistle blower, revealing what he knew about the Agency. He
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                                         specifically targeted Sid Vision,2 a former silent partner of Motley who was
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                                    14   responsible for his termination. Murphy claimed that Vision convinced Plaintiff
                                    15   to bring this lawsuit due to a “personal vendetta” against Defendants. Id. Murphy
                                    16   also alleged that Vision boasted about introducing Plaintiff to her lawyers
                                    17   (“Bibiyan Law Group” or “BLG”) in this case.3 Id. In April 2024, Mr. Murphy
                                    18   deleted those posts.
                                    19
                                         1
                                           Murphy was fired after owner Dave Bacon (a.k.a. Dave Rock) was discovered
                                    20
                                         illegally recording Motley’s client through hidden cameras in bathrooms of his
                                    21   house. This was detailed in the recent decision Doshi v. Twice Baked Media,
                                         TAC-52887, Department of Labor Standards and Enforcement, State of
                                    22
                                         California (April 30, 2024), available at:
                                    23   https://www.dir.ca.gov/DLSE/tac/20240430%20Doshi%20v.%20Twice%20Baked
                                         %20Media%20decision%20vF%20(signed).pdf
                                    24   2
                                           Vision’s real name is Sidney Millspaugh IV. He is an IT executive from Florida
                                    25   who moved to Los Angeles during Covid so that his wife, adult film actress
                                         Charly Summers, could pursue her adult film career.
                                    26   3
                                           Specifically, Mr. Murphy stated: “One of the main issues between Vixen and
                                    27   Motley was the class action labor lawsuit filed by Kenzie Anne. Vixen’s
                                         suspicions were correct that Motley has something to do with it as Sid Visions
                                    28

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                                     1          Defendants noticed subpoenas for Murphy on May 24, 2024 and personally
                                     2   served him on May 29, 2024, commanding him to attend a deposition as well as
                                     3   produce documents by June 24. See <Exhibit B, Notice of Intent to Serve
                                     4   Subpoena>. Among others, Request No. 8 asked him to “[p]roduce all
                                     5   COMMUNICATIONS between YOU and PLAINTIFF RELATING TO THIS
                                     6   MATTER.” Id. at 10. Additionally, Request No. 32 asked for an archive of his
                                     7   Instagram account. Id. at 17.
                                     8          For reasons that may only become clear upon resolution of the Motion, this
                                     9   subpoena distressed Plaintiff. On May 29, BLG sent a letter to Murphy
                                    10   instructing him not to comply with Defendants’ subpoena, threatening “civil
                                    11   liability, court sanctions” and “contempt of court.” See <Exhibit A at 3>. Plaintiff
                                    12   initially petitioned the Court to quash the Murphy subpoenas (as well as
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                                         subpoenas served on Instagram and Mainboard, LLC). See [Dkt. 67]; [Dkt. 69, at
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                                    14   3–4]. However, on June 4, the Court ruled that “Plaintiff has not shown that she
                                    15   has standing to object to the subpoena” concerning Murphy’s public Instagram
                                    16   messages. [Order, Dkt. 71, at 2]. This did not end BLG’s involvement; instead,
                                    17   after initially advising Murphy not to respond to the subpoena, they engaged him
                                    18   as a client.4
                                    19          On June 7, Plaintiff’s counsel responded on Murphy’s behalf with identical
                                    20   boilerplate objections, including attorney-client privilege, for every document
                                    21

                                    22   was the man who introduced Kenzie to her lawyer and bragged about how he
                                    23   convinced her to do this.” Id.
                                         4
                                           This seemed unusual given Murphy’s public adverse statements regarding the
                                    24   lawsuit and BLG. See CA ST RPC Rule 4.3(a–b). Additionally, the DLSE ruled
                                    25   that the Agency owed commissions to all its clients, meaning Murphy may be
                                         liable to Plaintiff for improper fees. See Doshi v. Twice Baked Media, TAC-
                                    26
                                         52887, supra n.1, at 7:18, 15 (“Separately, [Murphy] billed the production
                                    27   companies for booking fees based on Doshi’s shoots….The inclusion of booking
                                         fees violated Labor Code § 1700.24, breached Motley’s fiduciary duty to
                                    28
                                         Doshi…”).

                                                                                  3
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                                     1   request. In response to Request No. 8, Murphy claimed that he either no longer
                                     2   had the requested documents or never possessed them. No privilege log was
                                     3   attached. After another IDC, the Court urged BLG “to go over possession,
                                     4   custody or control over sources of electronic documents that may be responsive to
                                     5   the subpoena.” [Dkt. 74, at 2]. Despite this, Murphy, through BLG, failed to
                                     6   supplement his discovery and refused to attend his deposition.5 See generally
                                     7   [Dkt. 86]. On July 3, after a third IDC, the Court ordered Murphy to supplement
                                     8   his responses “and complete his production of responsive documents” by July 17.
                                     9   See [Order, Dkt. 88, at 1] (emphasis added). The Court further required BLG to
                                    10   disclose in writing the general steps taken to search for responsive documents. Id.
                                    11   However, on July 17, Murphy served supplemental responses but produced no
                                    12   additional material, maintaining the same boilerplate objections and stating he
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                                         “will produce all non-privileged documents within his possession, custody, and
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                                    14   control.” <Exhibit A, Murphy Supp. Resp. at 1> (emphasis added). Again, no
                                    15   privilege log was included, leading to a fourth IDC with the Court. See [Dkt. 94].
                                    16         Finally, on July 20, Mr. Murphy produced his second supplemental
                                    17   responses. He maintained the same objections (without producing a privilege log)
                                    18   while producing a single screenshot evidencing a download of his Instagram
                                    19   archive without actually producing the archive itself. See <Exhibit D, Murphy’s
                                    20
                                    21

                                    22   5
                                           Murphy’s deposition was originally scheduled for June 28. BLG represented
                                    23   “on or about June 24,” a month after service of Plaintiff’s subpoena, that
                                         Murphy claimed “representatives of Defendants made death threats to him,”
                                    24   which allegedly took place on May 9, 2024. [Dkt. 86, at 3–4] (emphasis added).
                                    25   However, during his deposition, Murphy clarified that the incident occurred
                                         “roughly around the middle to end of 2022.” <Exhibit C, Murphy Deposition
                                    26
                                         Transcript (Excerpts) at 19:3–6>. Dave Rock and Sid Visions, whom Murphy
                                    27   described as “clearly a liar,” id. 136:2–3, told Murphy a VXN representative had
                                         threatened him. See id. at 20:6–10. This hearsay is the sole basis of his refusal to
                                    28
                                         attend his original deposition.

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                                     1   Second Supplemental Responses (Excerpts)>; see also [Dkt. 94] (ordering Mr.
                                     2   Murphy to respond to Request No. 32).
                                     3         Just two days later, on July 22, the parties sat for the rescheduled
                                     4   deposition, which the Court had to personally schedule at the United States
                                     5   District Court for the District of Nevada. [Dkt. 88]. Murphy testified that he
                                     6   purchased a new phone in March 2024 and conveniently lost all communications
                                     7   on his old phone. But, he admitted he had texted with Plaintiff a “handful” of
                                     8   times this year. See <Exhibit C, Murphy Depo. Tr. 73:16–18; 104:6–107:8>.
                                     9   Despite this admission and Defendants’ July 30 conferral requesting Mr. Murphy
                                    10   supplement his discovery, nothing was produced. See [Dkt. 99, at 5]. And on
                                    11   August 16, Mr. Murphy’s counsel conceded that she was “unable to confirm
                                    12   whether any supplementals will be provided prior to the IDC.” See id. 5–6.
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                                               Thus, on August 19, counsel sought the Court’s assistance yet again for a
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                                    14   fifth IDC on this matter. See [Dkt. 98]. Counsel for Mr. Murphy averred that he
                                    15   was still “diligently working on providing supplemental responses,” and that his
                                    16   counsel had only “became aware (at the Ryan Murphy deposition and Plaintiff’s
                                    17   deposition conducted on July 22, 2024 and August 13, 2024, respectively) that a
                                    18   privilege log is required.”6 [Dkt. 99, at 3].
                                    19

                                    20
                                    21   6Counsel’s representations are questionable since the withheld communications
                                         may involve BLG’s unethical solicitation of Murphy for its financial gain. Cf. CA
                                    22   ST RPC Rule 7.3(a). This is particularly concerning because the solicitation
                                    23   might be driven by the firm’s “pecuniary gain,” as it has requested recovery of its
                                         fees if it prevails in the litigation. See [Dkt. 53, at Prayer M]. The
                                    24   communication may also violate CA ST RPC Rule 4.3(b) because BLF is now
                                    25   using attorney-client privilege to block Defendants from otherwise discoverable
                                         information. BLG’s conflict of interest is evident, as Defendants’ sought
                                    26
                                         Murphy’s testimony partly due to public statements about possible misconduct by
                                    27   BLG. Providing legal advice to Murphy, and then shielding those
                                         communications under attorney-client privilege appears to directly contradict
                                    28
                                         California’s ethical rules.

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                                     1         Finally, on August 21–eighty-nine days after Defendants’ subpoena was
                                     2   served and fifty-eight days after Murphy was required to respond–Murphy
                                     3   produced a privilege log for some of his text messages. See <Exhibit E,
                                     4   Murphy’s Privilege Log>. In three instances, he claims attorney-client privilege
                                     5   for “Text Message[s] between Plaintiff and Ryan Murphy[.]” See id. However, no
                                     6   attorney is identified in any of these messages. The first message occurred before
                                     7   his subpoena was noticed and served, meaning BLG is claiming privilege for
                                     8   communications that took place before they would have even considered
                                     9   representing him.
                                    10         The Court has authorized that “Defendants may file a motion to compel
                                    11   documents listed on the privilege log[.]”[Order, Dkt. 100, at 3]. The Court has
                                    12   also ordered “that Mr. Murphy shall complete his production of documents by
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                                         August 30, 2024. If Mr. Murphy does not have any additional documents to
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                                    14   produce, then counsel shall so advise defense counsel.” Id. at 4. On that date, he
                                    15   produced a single Instagram message that was brought to his attention at his July
                                    16   22 deposition. See <Exhibit F, Murphy Instagram Message with Brad Kane>.
                                    17   The new production, however, did not contain all responsive materials. Cf. [Dkt.
                                    18   99, at 5]. Importantly, it failed to include the Instagram archive and the
                                    19   “privileged” text messages.
                                    20         On September 10, 2024, Defendant’s counsel deposed Plaintiff’s former
                                    21   accountant Larry Lerner of Artist Business Management Group, Inc. See
                                    22   <Exhibit G, Declaration of Trey Brown>. Mr. Lerner has been a licensed tax
                                    23   professional for over 40 years in the State of California. Id. Mr. Lerner testified
                                    24   that Plaintiff’s counsel sent him a letter, similar to the one BLG sent to Murphy,
                                    25   ordering him to not comply with the subpoena. Id. See <Exhibit H, August 23
                                    26   BLG Letter to Larry Lerner>. Plaintiff’s counsel then contacted him and
                                    27   attempted to bully him into non-compliance. Specifically, he stated that Plaintiff’s
                                    28   counsel told him that he could be jailed if he complied with Defendants’

                                                                                   6
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                                     1   subpoena. Id. Mr. Lerner also stated that Plaintiff herself called him after he
                                     2   received the subpoena and begged him not to comply because it would harm her
                                     3   case. Id. Given Mr. Lerner’s testimony that Plaintiff and BLG made efforts to
                                     4   suppress evidence, Defendants now move to compel Mr. Murphy’s text messages
                                     5   and Instagram archive.
                                     6   III.   STANDARD
                                     7          “[O]n notice to the commanded person, the serving party may move the
                                     8   court for the district where compliance is required for an order compelling
                                     9   production or inspection.” Fed. R. Civ. P. 45(d)(2)(B)(i); see also id. 37(a)(2).
                                    10   “The court, in ruling on the motion, ‘must protect a person who is neither a party
                                    11   nor a party’s officer from significant expense resulting from compliance.’”
                                    12   Brewster v. City of Los Angeles, No. 14-2257, 2019 WL 6620505, at *2 (C.D.
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                                         Cal. Sept. 5, 2019) (quoting Fed. R. Civ. P. 45(d)(2)(B)(ii)).
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                                    14          A nonparty “withholding subpoenaed information under a claim that it is
                                    15   privileged . . . must: (i) expressly make the claim; and (ii) describe the nature of
                                    16   the withheld documents [or] communications . . . in a manner that, without
                                    17   revealing information itself privileged or protected, will enable the parties to
                                    18   assess the claim.” Fed. R. Civ. P. 45(e)(2); see id. 26(b)(5). “In other words, a
                                    19   party claiming attorney-client privilege . . . must identify specific information and
                                    20   communications that are privileged and the grounds supporting invocation of the
                                    21   privilege for each allegedly privileged piece of evidence – blanket assertions of
                                    22   either theory are ‘extremely disfavored.’” Immigrant Defs. L. Ctr. v. U.S. Dep’t of
                                    23   Homeland Sec., No. 21-395, 2023 WL 8135746, at *1 (C.D. Cal. Oct. 30, 2023)
                                    24   (collecting cases). “The party asserting the attorney-client privilege has the
                                    25   burden of establishing the existence of the attorney-client relationship and the
                                    26   privileged nature of the communication.” Owens v. Wesco Aircraft Hardware
                                    27   Corp., No. 19-6097, 2020 WL 6114916, at *1 (C.D. Cal. Apr. 6, 2020) (citing
                                    28   United States v. Graf, 610 F.3d 1148, 1156 (9th Cir. 2010)).

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                                     1   IV.   ANALYSIS
                                     2         A. The Privilege Log is Prima Facie Defective
                                     3         Murphy should be compelled to produce the contents of text messages in
                                     4   his privilege log because the log only lists communications between Plaintiff and
                                     5   Murphy. The privilege log does not list a single attorney that was involved in the
                                     6   communications.
                                     7         The attorney-client privilege does not cover communications between two
                                     8   nonlawyers. “The attorney client privilege applies to communications between
                                     9   lawyers and their clients . . . .” See Owens v. Wesco Aircraft Hardware Corp.,
                                    10   No. 19-6097, 2020 WL 6114916, at *2 (C.D. Cal. Apr. 6, 2020) (quoting United
                                    11   States v. Chen, 99 F.3d 1495, 1501 (9th Cir. 1996)) (emphasis added). “The Ninth
                                    12   Circuit applies an eight-part test for the attorney client privilege: ‘(1) Where legal
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                                         advice of any kind is sought (2) from a professional legal adviser in his capacity
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                                    14   as such, (3) the communications relating to that purpose, (4) made in confidence
                                    15   (5) by the client, (6) are at his instance permanently protected (7) from disclosure
                                    16   by himself or by the legal adviser, (8) unless the protection be waived.’” Id. at *1
                                    17   (quoting United States v. Ruehle, 583 F.3d 600, 607 (9th Cir. 2009)); see Fed. R.
                                    18   Evid. 501.
                                    19         According to Murphy’s own words, the withheld material only consists of
                                    20   “Text Message[s] between Plaintiff and Ryan Murphy[.]” <Exhibit E, Privilege
                                    21   Log>. However, “[t]he attorney client privilege does not apply here because the
                                    22   communications at issue were made between a non-attorney[s.]” See Park v. Cas
                                    23   Enterprises, Inc., No. 8- 385, 2009 WL 3565293, at *3 (S.D. Cal. Oct. 27, 2009);
                                    24   see also Iroquois Master Fund, Ltd. v. Glob. ePoint, Inc., No. 8-7761, 2018 WL
                                    25   6929337, at *12 (C.D. Cal. Jan. 9, 2018) (noting, inter alia, that a privilege log
                                    26   must identify “the attorney and client involved”) (citations omitted).
                                    27         “[T]here is no explanation of why or how the asserted privilege applies,”
                                    28   Estate of Antonio Thomas v. County of Sacramento, No. 20-903, 2021 WL

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                                    1   4992923, at *1 (E.D. Cal. Oct. 27, 2021), and thus Murphy has not “carried [his]
                                    2   burden to establish the applicability” of the attorney-client privilege. See
                                    3   Immigrant Defs. L. Ctr. v. U.S. Dep’t of Homeland Sec., No. 21-395, 2023 WL
                                    4   8135746, at *2 (C.D. Cal. Oct. 30, 2023) (citation omitted).
                                    5         B. Defendants Seek Murphy’s Text Messages to Determine Whether
                                    6             Plaintiff or Plaintiff’s Counsel Influenced his Testimony
                                    7         “A defendant suffers prejudice if the plaintiff's actions impair the
                                    8   defendant's ability to go to trial or threaten to interfere with the rightful decision
                                    9   of the case.” Loop AI Labs Inc. v. Gatti, No. 15-CV-00798-HSG, 2017 WL
                                   10   934599, at *10 (N.D. Cal. Mar. 9, 2017), aff'd, 742 F. App'x 286 (9th Cir. 2018).
                                   11   BLG was not able to influence Mr. Lerner’s testimony or suppress his document
                                   12   production because Mr. Lerner is a sophisticated licensed accountant and
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                                        understood his obligations under the law. However, Murphy is unemployed and
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                                   14   desperately wants a job and needs money.7 “A lawyer commits misconduct in
                                   15   interviewing a witness (“fault” in the civil context) when that lawyer knows, or
                                   16   should know, that the lawyer is encouraging a witness to place his or her own
                                   17   interests, problems, concerns, fears, biases, and the like ahead of telling the truth.
                                   18   This is the essence of ‘improper influence’ or ‘undue influence’ given the facts
                                   19   and circumstances of this case.” Stanley v. Wong, No. CIV S-95-1500 FCDGGH,
                                   20   2006 WL 1523128, at *8 (E.D. Cal. May 31, 2006).
                                   21         Defendants seek to compel Murphy’s documents in order to determine if
                                   22   Plaintiff and BLG influenced Murphy to withhold evidence that may hurt
                                   23   Plaintiff’s case. “Any lawyer in a civil proceeding may commission investigations
                                   24   and query the critical witnesses in the case. But, as pointed out by petitioner at
                                   25   hearing, the lawyer should not deal with the witnesses in such a manner as will
                                   26
                                   27
                                        7
                                         On August 13, 2024, Mr. Murphy created a “go fund me” to help his family
                                        avoid eviction: https://www.gofundme.com/f/help-a-las-vegas-family-avoid-
                                   28
                                        eviction

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                                    1
                                        coerce or unduly influence a witness' recall of events. Concepts of obstruction of
                                    2
                                        justice apply to civil proceedings.” Id. at *6. Defendants sought Murphy’s
                                    3
                                        testimony not only for Instagram posts but also because he was the primary
                                    4
                                        liaison between Plaintiff and Defendants. Murphy handled Plaintiff’s payment
                                    5
                                        information, requested reimbursements, communicated her availability, and
                                    6
                                        relayed the details of each movie shoot. If Murphy’s testimony or document
                                    7
                                        production has been improperly influenced, it may impact the integrity of the case
                                    8
                                        and judicial process.
                                    9
                                                Murphy has not only disobeyed Plaintiff’s subpoena to produce documents,
                                   10
                                        which “is itself a court order,” Pennwalt Corp. v. Durand-Wayland, Inc., 708
                                   11
                                        F.2d 492, 494 n.5 (9th Cir. 1983), but ignored multiple orders expressly directing
                                   12
                                        him to comply with the subpoena. “Absent a stay, all orders . . . of courts must be
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                                   13
                                        complied with promptly.” Donovan v. Mazzola, 716 F.2d 1226, 1240 (9th Cir.
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                                   14
                                        1983) (internal quotation marks and citation omitted).
                                   15
                                           V.       CONCLUSION
                                   16
                                                For the foregoing reasons, Defendants respectfully request the Court (1)
                                   17
                                        overrule Murphy’s attorney-client privilege objection; (2) compel Murphy to
                                   18
                                        produce the withheld text messages; (3) compel Murphy to produce his Instagram
                                   19
                                        Archive account; (5) compel Murphy to produce any other documents he has
                                   20
                                        withheld.
                                   21

                                   22    Dated: September 13, 2024                 Respectfully submitted,
                                   23                                              KANE LAW FIRM

                                   24                                        By: /s/ Brad S. Kane
                                   25                                            Brad Kane
                                                                                 Trey Brown
                                   26                                            Attorneys for Defendants
                                   27                                            VXN Group LLC and Mike Miller

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                                    1                           CERTIFICATE OF SERVICE
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